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                                                                                 2019 Feb-22 PM 03:54
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

REBECCA ANNE PETERS, on behalf of               )
herself and all others similarly situated,      )
                                                )       CASE NO.:
        Plaintiffs,                             )
                                                )       2:17-cv-01270-AKK
v.                                              )
                                                )
EXPERIAN INFORMATION                            )       CLASS ACTION
SOLUTIONS, INC.,                                )
                                                )
        Defendant.                              )

     STIPULATION AND ORDER OF DISMISSAL OF INSTANT ACTION AS
           PART OF NATIONWIDE CLASS ACTION SETTLEMENT

        Plaintiff Rebecca Anne Peters (“Plaintiff”) and Defendant Experian

Information Services, Inc. (“Defendant”) submit this Stipulation and Proposed Order

of Dismissal of the Instant Action as Part of a Nationwide Class Action Settlement.

        1.       This case is one of 18 putative class actions brought in various

jurisdictions related to public record reporting under the Fair Credit Reporting Act,

15 U.S.C. § 1681 et seq., and related state statutes.

        2.       In September 2018, a nationwide settlement was reached in Carolyn

Clark v. Experian Information Solutions, Inc., Case No. 3:16-cv-00032-MHL (E.D.

Va.).

        3.       The Hon. M. Hannah Lauck of the Eastern District of Virginia granted

final approval to the nationwide class action settlement and final judgment in Clark

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on February 1, 2019. Clark, ECF No. 150 (Final Approval and Injunctive Relief

Order).

       4.       No appeals were taken from Judge Lauck’s Order.

       5.       The terms of the nationwide settlement embrace the class claims

alleged in this litigation.

       6.       Therefore, Plaintiff and Defendant jointly request (i) the dismissal of

the instant action with prejudice as to the class action claims, and (ii) the dismissal

of Plaintiff’s individual claims without prejudice. Dismissal of the class and

individual claims will resolve all claims in this matter.

Dated: February 22, 2019           Respectfully submitted,


                                   /s/John Soumilas
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                     /s/ Gregory R. Hanthorn
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                     SO ORDERED:




                     ________________________
                     Hon. Abdul K. Kallon




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